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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


CASSANDRA FAIRBANKS, an individual,
                                             Civil Action No. 1:17cv-01052-CKK
                  Plaintiff,

             v.
                                             ORAL HEARING REQUESTED
EMMA ROLLER, an individual,

                  Defendant.




DEFENDANT EMMA ROLLER’S REPLY MEMORANDUM IN FURTHER SUPPORT
    OF SPECIAL MOTION TO DISMISS UNDER THE D.C. ANTI-SLAPP ACT




                                  Laura R. Handman (DC Bar No. 444386)
                                  Eric J. Feder (DC Bar No. 1048522)

                                  DAVIS WRIGHT TREMAINE LLP

                                  1919 Pennsylvania Avenue, N.W., Suite 800
                                  Washington, DC 20006-3401
                                  (202) 973-4200
                                  (202) 973-4499 (fax)
                                  laurahandman@dwt.com
                                  ericfeder@dwt.com

                                  Attorneys for Defendant Emma Roller
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                                    PRELIMINARY STATEMENT

        This lawsuit is a quintessential SLAPP (“Strategic Lawsuit Against Public

Participation”). Plaintiff Cassandra Fairbanks posted on Twitter a photo of herself posing in

front of the White House press podium making an “OK” hand gesture at a time when there was

an active debate (that continues to this day) over whether the gesture had been adopted by white

nationalists. Defendant Emma Roller responded with a Twitter post criticizing the political

implications of Plaintiff’s actions—specifically in the context of the fact that Plaintiff was a

credentialed White House journalist. Plaintiff’s response was to file a defamation lawsuit to

stifle that criticism and debate.

        The D.C. Anti-SLAPP Act was passed for just this type of situation—where “one side of

a political or public policy debate” aims to “punish or prevent the expression of opposing points

of view” with a meritless lawsuit. Competitive Enter. Inst. v. Mann, 150 A.3d 1213, 1226 (D.C.

2016) (citation omitted). There can be no doubt that this lawsuit falls within the scope of the

Act—Plaintiff’s own Complaint frames the speech at issue as part of a broader “political war”

“in the world of journalism.” Compl. at 2. The only open question is whether the Act applies in

this Court. The D.C. Court of Appeals resolved any doubt on that front in Mann, when it

confirmed that the Act should be interpreted as imposing the same standards as the Federal Rules

of Civil Procedure for dismissing a suit. Mann, 150 A.3d at 1238. Although dicta in the D.C.

Circuit’s earlier decision in Abbas v. Foreign Policy Group, LLC, 783 F.3d 1328 (D.C. Cir.

2015), suggested that the Act should not apply in Federal court, this Court should follow the

“clear[] and unmistakabl[e]” guidance from a subsequent decision of the D.C. Court of Appeals

interpreting a D.C. statute, and hold that the Act applies. Easaw v. Newport, 253 F. Supp. 3d 22,

35-36 (D.D.C. 2017) (Howell, C.J.). As set forth in Roller’s Motion to Dismiss, Plaintiff cannot

establish that her suit is “likely to succeed on the merits,” since her Complaint fails to state a
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claim as a matter of law. D.C. Code § 16-5502(b). Accordingly, the Court should dismiss the

case pursuant to both Rule 12(b)(6) and the Act, and allow Roller to recover the costs and

attorney’s fees she has expended to defend her right to participate in public debate. See D.C.

Code § 16-504(a).

                                           ARGUMENT

I.     THIS COURT SHOULD APPLY THE SUBSTANTIVE PROVISIONS OF THE
       D.C. ANTI-SLAPP ACT IN THIS D.C. TORT LAW ACTION

       Roller understands that the application of the D.C. Anti-SLAPP Act in this Court is an

open question, but well-settled principles of federalism and binding authority from the D.C.

Court of Appeals weigh strongly in favor of applying the Act to this diversity action.

       When the D.C. Court of Appeals decided Mann in December 2016, the Court clarified

two important points: First, the Act “extend[s] substantive rights to defendants in a SLAPP.”

150 A.3d at 1235 (emphasis added). Second, the “likely to succeed on the merits” standard is

“substantively the same” and “simply mirror[s]” the standards imposed by the Federal Rules of

Civil Procedure. Id. at 1238 n.32. See Defendant’s Memorandum of Points and Authorities in

Support of Special Motion to Dismiss, ECF No. 13 (“Def. SLAPP Mem.”), at 3-5. In light of

those authoritative holdings from D.C.’s highest court, and bedrock principles of federalism

under Erie Railroad Co. v. Tompkins, 304 U.S. 64, 78 (1938), this Court should apply the Act in

this action. Here, the Act serves as an attorneys’ fees provision, which has been deemed

substantive and applicable in federal court. See Def. SLAPP Mem. at 7-8.

       In her Opposition to this motion (ECF No. 16 (“SLAPP Opp.”)), Plaintiff wrongly asserts

Roller is asking the Court to “ignore” or “upend established precedent.” SLAPP Opp. at 5, 6.

On the contrary, Roller asks the Court to “fulfill [its] obligation” when sitting in diversity to

“apply the substantive law of the jurisdiction in which it sits” by “looking to the published


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opinions of the D.C. Court of Appeals.” Metz v. BAE Sys. Tech. Sols. & Servs. Inc., 774 F.3d 18,

21-22 (D.C. Cir. 2014) (citation omitted).

       Roller fully acknowledges that the D.C. Circuit stated in dicta in Abbas that the Act could

not apply in federal court because the court interpreted the Act as imposing a standard “different

from and more difficult for plaintiffs to meet than the standards imposed by Federal Rules 12 and

56.” Abbas, 783 F.3d at 1335. See Def. SLAPP Mem. at 3-4 (discussing Abbas in detail).

However, the Abbas court’s dicta was expressly premised on the fact that “the D.C. Court of

Appeals ha[d] never interpreted the D.C. Anti-SLAPP Act’s likelihood of success standard to

simply mirror the standards imposed by Federal Rules 12 and 56.” 783 F.3d at 472. In Mann,

the D.C. Court of Appeals quoted Abbas, and definitively stated “[w]e do so now.” 150 A.3d at

1238 n.32. The Mann decision removes the underpinning for the Abbas court’s conclusion that

the Act answers the same question as the Federal Rules in a different way, which was the

primary obstacle to the application of the Act. 783 F.3d at 1335.

       Chief Judge Howell recently instructed that, “when faced with conflicting authority on

D.C. law by the D.C. Circuit and the D.C. [Court of Appeals],” the views of the D.C. Court of

Appeals “must govern” where that court “has spoken clearly and unmistakably to the current

state of D.C. law.” See Easaw, 253 F. Supp. 3d at 34 (applying 2015 D.C. Court of Appeals

decision that directly contradicted 2014 D.C. Circuit decision interpreting D.C. law). That

instruction is consistent with the well-settled principle that “the D.C. Court of Appeals is the

final arbiter of D.C. law.” Hinton v. Combined Sys., Inc., 105 F. Supp. 3d 16, 28 n.7 (D.D.C.

2015). See also Payne v. D.C. Gov’t, 722 F.3d 345, 353 (D.C. Cir. 2013) (“[O]ur analysis of the

applicable District of Columbia statutes recognizes the District of Columbia Court of Appeals’s

interpretation as binding.”); Foulger-Pratt Residential Contracting, LLC v. Madrigal



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Condominiums, LLC, 779 F. Supp. 2d 100, 111-12 (D.D.C. 2011) (“It is well-settled that on

issues of D.C. law, this Court defers to the rulings of the D.C. Court of Appeals.”) (citing

Williams v. Martinez, 586 F.3d 995, 1001 (D.C. Cir. 2009)). When a federal court sits in

diversity its “duty … is to achieve the same outcome [it] believe[s] would result if the District of

Columbia Court of Appeals considered the case.” Shaw v. Marriott Int’l, Inc., 605 F.3d 1039,

1042-43 (D.C. Cir. 2010). That task becomes straightforward where, as here, the D.C. Court of

Appeals has spoken “clearly and unmistakably” to the issue. Easaw, 232 F. Supp. 3d at 35-36.1

        We recognize that final resolution of whether the Act applies to a diversity action in

federal court likely awaits a ruling from the D.C. Circuit. But that does not relieve this Court in

the meantime of its “obligation” to apply subsequent precedent of D.C.’s highest court

interpreting the District’s law, insofar as there is no conflict with the Federal Rules. Metz, 774

F.3d at 22. Because, under the Mann Court’s authoritative interpretation, the D.C. Anti-SLAPP

Act does not conflict with the Federal Rules, and because, as the Mann Court affirmed further, it

provides “substantive” rights to litigants, 150 A.3d at 1235, the Court should apply the statute to

this diversity case.

II.     THE D.C. ANTI-SLAPP ACT, AS AUTHORITATIVELY INTERPRETED BY
        THE D.C. COURT OF APPEALS, IS CONSTITUTIONAL

        The Mann Court’s holding that the Anti-SLAPP Act imposes the same standards as the

Federal Rules also nullifies Plaintiff’s argument that the Act is unconstitutional. Plaintiff’s


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  One district judge has declined to apply the Act, even after Mann, deferring until further
guidance from the D.C. Circuit. Deripaska v. Associated Press, No. 1:17-cv-00913-ESH, at *5
(D.D.C. Oct. 17, 2017) (ECF No. 16). However, that court acknowledged that its decision to
maintain a divide between D.C. and federal courts on an issue of substantive D.C. law “will
likely promote the type of forum-shopping that Erie intended to avoid.” Id. In any event, for the
reasons above, we respectfully disagree with Judge Huvelle that the Mann decision “does not
‘clearly and unmistakably’ resolve the question” of whether the D.C. Anti-SLAPP Act conflicts
with the Federal Rules. Id.

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argument is based on the notion that the Act subverts a plaintiff’s right to have her claim tried to

a jury. See SLAPP Opp. at 11-12 (quoting 3M Co. v. Boulter, No. 11-cv-1527, 2012 WL

5245458, at *1 (D.D.C. Oct. 24, 2012) (“The Supreme Court has made it quite clear that Rule 56

sets the outer boundary for dismissing claims on the merits based upon a pretrial evaluation of

the evidence; to go further infringes upon the Seventh Amendment right to a jury trial.”)).

However, it is well settled that Federal Rules 12 (which governs a motion to dismiss) and 56

(which governs a motion for summary judgment) do not violate the Seventh Amendment. See,

e.g., Parklane Hosiery Co. v. Shore, 439 U.S. 322, 336 (1979) (“summary judgment does not

violate the Seventh Amendment”) (citing Fidelity & Deposit Co. v. United States, 187 U.S. 315,

319–321 (1902)); Caldwell v. Obama, 6 F. Supp. 3d 31, 44 n.8 (D.D.C. 2013) (holding that

Seventh Amendment is inapplicable to a claim that fails as a matter of law); cf. Tellabs, Inc. v.

Makor Issues & Rights, Ltd., 551 U.S. 308, 326-29 (2007) (upholding constitutional challenge to

Private Securities Litigation Reform Act, explaining “[a] court’s comparative assessment of

plausible inferences, while constantly assuming the plaintiff’s allegations to be true [as in a Rule

12(b)(6) motion], we think it plain, does not impinge upon the Seventh Amendment right to jury

trial”). In light of the D.C. Court of Appeals’ decision in Mann that the D.C. Anti-SLAPP Act

does not impose any different or more demanding standard than the Federal Rules, the Act does

not conflict with the Seventh Amendment. See Mann, 150 A.3d 1232-33 (holding that

application of standard consistent with Federal Rule 56 achieves goals of Anti-SLAPP Act

“while preserving the claimant’s constitutional right to a jury trial”).

III.   THIS CASE FALLS SQUARELY WITHIN THE AMBIT OF THE ACT AND
       SHOULD BE DISMISSED

       Plaintiff disingenuously asserts that this case falls outside the scope of the D.C. Anti-

SLAPP Act because Plaintiff and Roller were not “engaged in an ongoing political debate, with


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each side expressing their respective opinions on a public policy issue.” SLAPP Opp. at 8. But

the Act does not require speakers to be engaged in a direct, one-on-one dialogue. The Act

applies to any public statement “in connection with an issue of public interest.” D.C. Code § 16-

5501(1)(A) and (B). The conduct of credentialed White House journalists in the White House is

indisputably an “issue of public interest.” And criticism of the political implications of such

conduct (again, in the White House) is, on its face, a statement on an issue of public interest.

The Act also covers statements related to “a public figure,” which Plaintiff does not dispute that

both she and Mike Cernovich (who was the other the subject of the challenged statements) are.

Id. § 16-5501(3).

        Despite Plaintiff’s new effort to disassociate this case from any “policy debate,” SLAPP

Opp. at 8, her own Complaint describes this case as arising from a “burgeoning gap within the

world of journalism” as a result of the “2016 [presidential] campaign season.” Compl. at 2. In

Plaintiff’s telling, “gatekeeper” journalists (like Roller) have waged a “political war on their

ideological adversaries and grassroots competitors,” like Plaintiff (who describes herself as a

“politically-dissident journalist”). Id. at 2-3.

        Standards for political journalism, with each side accusing the other of promoting “fake

news,” have indeed been a subject of intense discussion and public debate among journalists,

politicians and the general public. More specific to this case, the issue of whether once-

innocuous gestures and symbols have been adopted by white nationalists, and how such symbols

should be interpreted, has likewise been extensively debated. See Defendant’s Memorandum of

Points and Authorities in Support of Motion to Dismiss, ECF No. 12, at 2-3 nn.3-4; Def. SLAPP

Mem. at 10 n.10. That debate continues to this day: just last month, a White House intern made

headlines for using the same gesture in a group photo with the President, with numerous



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publications referring to it as a “known ‘white power’ sign.” See Reply in Further Support of

Motion to Dismiss at 1 nn.1-2. The Act was specifically designed to prevent the use of a libel

lawsuit to shut down such public debate, and to mitigate the chilling effect of such suits by

allowing for an award of fees and costs. See Mann, 150 A.3d at 1238. It cannot seriously be

disputed that this lawsuit falls squarely within the Act’s ambit.

        Because, as set forth in Roller’s Motion to Dismiss pursuant to 12(b)(6), Plaintiff cannot

state a claim as a matter of law for multiple, independently sufficient reasons, she cannot

possibly show that she is likely to succeed on the merits. Accordingly, the Court should dismiss

the lawsuit both pursuant to Rule 12(b)(6) and the Act and, at the appropriate time and on the

appropriate motion, order Plaintiff to reimburse Roller for her costs and attorney’s fees in

defending this lawsuit. See Doe v. Burke, 133 A.3d 569, 571 (D.C. 2016) (holding that

successful movant under Anti-SLAPP Act “is entitled to reasonable attorney’s fees in the

ordinary course—i.e., presumptively—unless special circumstances in the case make a fee award

unjust”).

                                         CONCLUSION

       For all of the reasons set forth above, Defendant respectfully requests that the Court

dismiss Plaintiff’s Complaint in its entirety with prejudice under the D.C. Anti-SLAPP Act, and

that she should be awarded her fees and costs expended in this lawsuit.


Dated: January 12, 2018

                                              Respectfully submitted,


                                              /s/ Laura R. Handman
                                              Laura R. Handman (DC Bar No. 444386)
                                              Eric J. Feder (DC Bar No. 1048522)



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                            DAVIS WRIGHT TREMAINE LLP

                            1919 Pennsylvania Avenue, N.W., Suite 800
                            Washington, DC 20006-3401
                            (202) 973-4200
                            (202) 973-4499 (fax)
                            laurahandman@dwt.com
                            ericfeder@dwt.com

                            Attorneys for Defendant Emma Roller




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                               CERTIFICATE OF SERVICE

       I hereby certify that, on this date, I caused defendant Emma Roller’s Reply Memorandum

in Further Support of her Special Motion to Dismiss Pursuant to the D.C. Anti-SLAPP Act to be

filed and served electronically via the Court’s ECF system upon counsel of record.


Dated: January 12, 2018

                                            /s/ Laura R. Handman
                                            Laura R. Handman
